Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 1 of 6 Page ID #:5724




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      LORENZO VARGAS
13
                            UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
17    LUIS LORENZO VARGAS,                         Case No. 2:16-cv-08684-SVW-AFM

18                           Plaintiff, PLAINTIFF’S REPLY IN
                                        FURTHER SUPPORT OF
19             v.                       MOTION IN LIMINE NUMBER
                                        ONE TO INCLUDE EVIDENCE OF
20                                      PLAINTIFF’S INNOCENCE
      CITY OF LOS ANGELES; LOS
21    ANGELES POLICE                    HON. STEPHEN V. WILSON
      DEPARTMENT; COUNTY OF LOS
      ANGELES; OFFICE OF THE LOS        CTRM 10A
22    ANGELES DISTRICT ATTORNEY;
23    LOS ANGELES SHERIFF’S             Hearing Date:    June 10, 2019
      DEPARTMENT; MONICA
      QUIJANO; RICHARD TAMEZ;                            1:30 pm
24    SCOTT SMITH; AND DOES 1-10        Complaint Filed: November 12, 2016
25    INCLUSIVE,                        Trial Date:      June 25, 2016
26                        Defendants.

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       Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 2 of 6 Page ID #:5725




 1         TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
 2   RECORD, PLEASE TAKE NOTICE THAT Plaintiff LUIS LORENZO VARGAS,
 3   by and through his counsel, hereby submits this Reply in Further Support of Plaintiff’s
 4   Motion in Limine Number One to Include Evidence of Plaintiff’s Innocence.
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       Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 3 of 6 Page ID #:5726




 1   I.       The Plaintiff’s Motion In Limine No.1 is Not an Attempt to Reconsider
 2            a Prior Contested Ruling
 3            In their opposition to Plaintiff’s first motion in limine, the Defendants argue that
 4   the motion is an improper attempt to seek reconsideration. Plaintiff disagrees.
 5            Plaintiff’s Motion In Limine No. 1 did reference this court’s prior ruling on the
 6   admissibility of evidence that Vargas was innocent of the crimes for which he was
 7   imprisoned. However, the precise issue presented in the motion is not one that was
 8   previously and specifically litigated and briefed.
 9            The question of whether the jury was going to hear evidence of Plaintiff’s
10   innocence was discussed in Plaintiff’s opposition to the Defendants’ motion to bifurcate
11   liability and damages. In that context, Plaintiff argued that a consequence of bifurcation
12   would be that the jury hearing the liability phase would “be left to wonder if Plaintiff is
13   simply a felon trying to pin blame on LAPD Officers who committed technical error.”
14   (Plaintiff’s Opposition to Defendants’ Motion In Limine to Bifurcate Liability,
15   Compensatory Damages, and Punitive Damages, filed September 11, 2018.) In short,
16   Plaintiff argued that this court should not bifurcate the proceedings for a number of
17   reasons, including possible prejudice to Plaintiff.
18            It is also true, that during an April 15, 2019 hearing, counsel for Plaintiff made
19   an oral representation to this court that we did not then anticipate litigating the specific
20   issue of the admissibility of evidence of Plaintiff’s innocence in the liability phase.
21   After that hearing, and as we began trial preparation in earnest, we determined that we
22   needed to litigate this specific issue and have the court consider the issue with the
23   benefit of full briefing.
24            Unless Defendants can show prejudice, there is no reason why Plaintiff should
25   be precluded from now bringing this specific issue to the court’s attention for a ruling.
26                                                  -1-
27        Mr. Vargas’s Reply in Support of Motion

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Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 4 of 6 Page ID #:5727




 1   The instant motion is merely designed to ameliorate one of the consequences of this
 2   court’s ruling on bifurcation.
 3   II.          The Introduction of Evidence Regarding Plaintiff’s
 4                Innocence is Needed in Order to Ensure that Plaintiff has
 5                a Fair Trial
 6         On the merits, the Defendants argue that Plaintiff’s innocence is “irrelevant” to
 7   the question of liability. That is not true. The jury in this case will have to determine
 8   “materiality.” The jury in this case cannot fairly determine materiality when knowing
 9   only that Vargas had been convicted of the crimes. In addition, as argued previously,
10   Plaintiff will be denied a fair trial if the jury only knows half of the story.
11         The relevant standard for the introduction of evidence is Rule 403, which
12   provides: “The court may exclude relevant evidence if its probative value is
13   substantially outweighed by a danger of one or more of the following: unfair prejudice,
14   confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
15   presenting cumulative evidence.” (Emphasis added.)
16         There is no basis for arguing that proof of innocence “substantially” outweighs
17   its need. Its introduction is designed to “balance the scales.” Nor is there any basis for
18   concluding that such evidence will confuse the jury; guilt and innocence are simple,
19   fundamental issues. It is hard to imagine that a jury in the year 2019 will have trouble
20   understanding that the defendant was exonerated after DNA testing excluded him as the
21   perpetrator of one of the sexual assault he was convicted of.
22         That the introduction of such evidence might take time does not support a claim
23   of “undue” delay or that it is time “wasted.” Ensuring a fair trial is never a waste of
24   time. In addition, a simple stipulation that conviction was reversed based on DNA
25   evidence, would eliminate any time or delay issues.
26                                               -2-
27     Mr. Vargas’s Reply in Support of Motion

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Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 5 of 6 Page ID #:5728




 1          Even in the absence of a stipulation, testimony from the staff attorney at the
 2   California Innocence Project who obtained the reversal and declaration of innocence
 3   could be completed in well under a half hour. In addition, and contrary to Defendants’
 4   claim, her testimony would not be hearsay as she was a percipient witness to the
 5   stipulated habeas petition reversing the conviction and the subsequent declaration of
 6   innocence.
 7          Citing Johnson v. Colt Indus. Operating Corp., 797 F.2d 1530, 1534 (10th Cir.
 8   1986), the Defendants argue that the Superior Court’s declaration of innocence might
 9   confuse the jury because the jury might not know how much weight to give it. Plaintiff
10   does not need to introduce the Superior Court’s finding of factual innocence. In order
11   to balance the scales in this case and avoid prejudice, Plaintiff would be satisfied with
12   the introduction of the District Attorney’s stipulation to Vargas’s habeas petition. With
13   that single document, the jury will know that after the District Attorney obtained the
14   conviction, the District Attorney concluded that the conviction was in error and that
15   Vargas was entitled to be released from prison.
16          Defendants also cite Carter v. Burch, 34 F.3d 257, 265 (4th Cir. 1994), which is
17   also distinguishable. In that case, the Court of Appeals ruled that admission of a judges
18   opinion would have been unduly prejudicial because the judge had ruled on the precise
19   issue the jury was to decide. Here, the jury will not be tasked with determining whether
20   Vargas committed the underlying crimes. As noted by the Defendants, here, the jury
21   need only determine whether the withheld material was exculpatory, prejudicial, and in
22   disregard of Vargas’s rights.
23   III.   Conclusion
24          This court is well aware that Plaintiff Vargas spent 18 year in prison for a crime
25   he did not commit. Based on the withheld material in the Serial Rape Book, it also
26                                               -3-
27     Mr. Vargas’s Reply in Support of Motion

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Case 2:16-cv-08684-SVW-AFM Document 211 Filed 05/27/19 Page 6 of 6 Page ID #:5729




 1   appears that Plaintiff did not get a fair trial when charged with the crimes at issue. All
 2   Plaintiff is seeking by this in limine is a fair trial in his civil case for compensation for
 3   his wrongful conviction.
 4         For all of the reasons stated previously, and here, Plaintiff’s original motion
 5   should be granted.
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 7
      DATED: May 24, 2019                              LAW OFFICES OF JAN STIGLITZ
 8
                                                       /s/ Jan Stiglitz
 9                                                     Jan Stiglitz, Esq.
                                                       Attorney for Plaintiff
10                                                     Luis Lorenzo Vargas
11    DATED: May 24, 2019                              BOON LAW
12                                                     /s/ Brett A. Boon
13                                                     Brett A. Boon, Esq.
                                                       Attorney for Plaintiff
14                                                     Luis Lorenzo Vargas

15    DATED: May 24, 2019                              BENNER LAW FIRM
16                                                     /s/ Craig S. Benner
17                                                     Craig S. Benner, Esq.
                                                       Attorney for Plaintiff
18                                                     Luis Lorenzo Vargas

19    DATED: May 24, 2019                              ALEXANDER J. SIMPSON, ESQ.

20                                                     /s/ Alexander J. Simpson
                                                       Attorney for Plaintiff
21                                                     Luis Lorenzo Vargas
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27     Mr. Vargas’s Reply in Support of Motion

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